       Case 2:23-cv-02064-NJB-JVM Document 25 Filed 08/29/23 Page 1 of 3




                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

 QUARTER HOLDINGS, L.L.C., et al.                     CIVIL ACTION NO. 2:23-cv-02064-
                                                      NJB-JVM
         v.
                                                      JUDGE NANNETTE JOLIVETTE
 WESTCHESTER SURPLUS LINES                            BROWN
 INSURANCE COMPANY, et. al.
                                                      MAGISTRATE JUDGE JANIS VAN
                                                      MEERVELD

 DEFENDANTS’ JOINT MOTION TO OPT OUT OF CASE MANAGEMENT ORDER

        Defendants, Westchester Surplus Lines Insurance Company, Homeland Insurance

Company of New York, StarStone Specialty Insurance Company, and Everest Indemnity

Insurance Company (collectively, the “Defendants”), respectfully request this Court to enter an

order granting Defendants’ request to opt out of the Court’s October 25, 2022 Case Management

Order regarding Hurricane Ida claims, including the Streamlined Settlement Process [R. Doc 4].

As set forth more fully in the accompanying Memorandum in Support, good cause exists to allow

Defendants to opt out of the Case Management Order.

                                             Respectfully submitted,

                                             PHELPS DUNBAR LLP

                                             BY:    /s/ Virginia P. Stewart
                                                   Mark C. Dodart (Bar #17549)
                                                   Virginia P. Stewart (Bar #40062)
                                                   Canal Place | 365 Canal Street, Suite 2000
                                                   New Orleans, Louisiana 70130
                                                   Telephone: 504 566 1311
                                                   Facsimile: 504 568 9130
                                                   Email: mark.dodart@phelps.com
                                                           virginia.stewart@phelps.com
                                             ATTORNEYS FOR DEFENDANTS,
                                             WESTCHESTER SURPLUS LINES
                                             INSURANCE COMPANY AND
                                             HOMELAND INSURANCE COMPANY OF
                                             NEW YORK



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       Case 2:23-cv-02064-NJB-JVM Document 25 Filed 08/29/23 Page 2 of 3




                                           and

                                     Respectfully submitted,

                                     MUSGRAVE, MCLACHLAN, & PENN,
                                     L.L.C.

                                     BY:    /s/ Ethan N. Penn
                                           Ethan N. Penn, Bar No.24596
                                           Lindsey M. Devereux, Bar No. 36433
                                           1555 Poydras St., Suite 2380
                                           New Orleans, LA 70112
                                           Telephone: (504) 799-4300
                                           Facsimile: (504) 799-4301
                                           Email: enp@mmpfirm.com
                                                   lmd@mmpfirm.com
                                     ATTORNEYS FOR DEFENDANT,
                                     STARSTONE SPECIALTY INSURANCE
                                     COMPANY

                                           and

                                     Respectfully submitted,

                                     ADAMS HOEFER HOLWADEL, LLC

                                     BY:    /s/ Bruce R. Hoefer
                                           BRUCE R. HOEFER, JR. (#6889)
                                           Email: brh@ahhelaw.com
                                           D. RUSSELL HOLWADEL (#16975)
                                           Email: drh@ahhelaw.com
                                           PHILLIP J. REW (#25843)
                                           Email: pjr@ahhelaw.com
                                           HEATHER E. REZNIK (#29175)
                                           Email: her@ahhelaw.com
                                           KYLE M. TRUXILLO (#38920)
                                           Email: kmt@ahhelaw.com
                                           RICHARD R. STEDMAN, II (#29435)
                                           Email: rrs@ahhelaw.com
                                           400 Poydras Street, Suite 2450
                                           New Orleans, Louisiana 70130
                                           Telephone: (504) 581-2606
                                           Facsimile: (504) 525-1488
                                     ATTORNEYS FOR DEFENDANT,
                                     EVEREST INDEMNITY INSURANCE
                                     COMPANY

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       Case 2:23-cv-02064-NJB-JVM Document 25 Filed 08/29/23 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I do hereby certify that I have on this 29th day of August, 2023, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

electronic filing to all participating counsel of record.

                                                       /s/ Virginia P. Stewart
                                                       Virginia P. Stewart




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